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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


Ricky Lee Jared Harris                                *
   Plaintiff,
                                                      *
       vs.                                                    Civil Action No. 8:18-cv-03854-GLS
                                                      *
Advantage Lending, Inc., DBA
A-1 Pawnbrokers 4&5 et al
   Defendant.                                         *

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                             AMENDED SCHEDULING ORDER

        This scheduling order is entered pursuant to Local Rule 103.9. Any inquiries concerning the
schedule should be directed Chambers, not the Clerk’s Office. If a party finds one or more deadlines
in the schedule unreasonable, they may request in writing a modification or a conference be held to
discuss modification of the schedule. Such requests shall be submitted on or before the first deadline
below. See infra Part I. Following the first deadline, the schedule will not be changed except for
good cause.

        This case is subject to electronic filing. Please familiarize yourself with the procedures for
electronic filing: http://www.mdd.uscourts.gov/sites/mdd/files/CMECFProceduresManual.pdf. You
must use the electronic filing system for filing documents with the Clerk’s Office and sending case
related correspondence to Chambers. When you electronically file a document that, including
attachments, is fifteen (15) pages or longer, you shall provide Chambers a paper copy of the
document and a paper copy of the notice of electronic filing. The paper copy shall be sent to the
Clerk’s Office, not directly to my Chambers.

I.     DEADLINES

       November 7, 2019:                 Moving for joinder of additional parties and
                                         amendment of pleadings

       November 21, 2019:                Plaintiff’s Rule 26(a)(2) disclosures

       December 20, 2019:                Defendant’s Rule 26(a)(2) disclosures

       January 10, 2020:                 Plaintiff’s rebuttal Rule 26(a)(2) disclosures



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       January 17, 2020:                Rule 26(e)(2) supplementation of disclosures and
                                        responses

       February 14, 2020:               Discovery deadline; submission of status report

       February 21, 2020:               Requests for admission

       March 20, 2020:                  Dispositive pretrial motions deadline

II.    DISCOVERY

      The Court has entered a separate Discovery Order that will govern in this case. This
Scheduling Order supplements that Discovery Order.

       A. Initial Disclosures

        Except as provided in the Discovery Order also issued in this case, this is an action in
 which Fed. R. Civ. P. 26(a)(1) disclosures need not be made.

       B. Discovery Conference

        This action is exempted from the requirements of the first sentence of Fed. R. Civ. P.
26(d) and from Fed. R. Civ. P. 26(f). However, you are encouraged to confer with one another
immediately in order to: (a) identify the issue(s), (b) set a discovery plan, (c) determine if the
case can be resolved before your clients incur further litigation expense, and (d) establish a
cordial professional relationship among yourselves.

       C. Procedure

       All the provisions of Local Rule 104 apply, including the following:

       a. All discovery requests must be served in time to assure that they are answered before
          the discovery deadline. An extension of the deadline will not be granted because of
          unanswered discovery requests.

       b. The existence of a discovery dispute as to one matter does not justify delay in taking
          any other discovery. The filing of a motion to compel or a motion for a protective
          order will not result in a general extension of the discovery deadline.

       c. No discovery materials, including Rule 26(a)(1) and Rule 26(a)(2) disclosures, except
          as provided in the Discovery Order issued in this case, should be filed with the court.

       d. When a motion to compel is permitted by the Discovery Order, the motion shall be
          filed in accordance with Local Rule 104.8 and applicable CM/ECF procedures.
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       e. Please be familiar with the Discovery Guidelines of this Court which are Appendix A
          to the Local Rules. Appendix D contains guidelines for form discovery requests and
          confidentiality orders that may be helpful to you.

       D. Deposition Hours

       Deposition hours are set forth in the Discovery Order separately issued in this case.

       E. Additional Requirements

        Electronically-Stored Information (ESI). If either or both parties intend to take discovery of
ESI, counsel should review the Principles for the Discovery of Electronically Stored Information in
Civil Cases. The Principles, prepared by a joint bench/bar committee, are available at
http://www.mdd.uscourts.gov/sites/mdd/files/ESI-Principles.pdf.

III.   POST-DISCOVERY JOINT STATUS REPORT

       The parties shall file on the day of the discovery deadline a joint status report (not to exceed
ten pages, single spaced text) covering the following matters:

       a. Whether discovery has been completed;

       b. Whether any motions are pending;

       c. Whether any party intends to file a dispositive pretrial motion, and if so, that party shall
          attach a concise description not to exceed three pages of single-spaced text setting
          out the factual and legal basis for the motion;

       d. Whether the case is to be tried jury or non-jury and the anticipated length of trial;

       e. A certification that the parties have met to conduct serious settlement negotiations; and
          the date, time and place of the meeting and the names of all persons participating therein;

       f. Any other matter which you believe should be brought to the court's attention.

IV.    MOTIONS PRACTICE

       A. Requirement for a Pre-Motion Notice and a Pre-Motion Conference

           1. Before filing any motion, the party must comply with the Letter Order
              previously issued setting forth the pre-motion conference requirements.

           2. The timely filing of a Notice, within the time period to file the underlying motion to
              which it relates, will toll the time to file such motion until the date set by the Court at
              the Pre-Motion Conference; no motion for an extension is necessary. In the event that
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      a Notice seeks to file a pre-Answer motion to dismiss, this provision also will apply,
      and the time to answer provided in Federal Rule of Civil Procedure 12(a) will be
      tolled.

   3. Upon receipt of a Notice, the Court promptly will schedule a telephonic Pre- Motion
      Conference with all parties.

   4. If the Court determines that no Conference is necessary, an Order will be issued
      authorizing the filing of the motion in accordance with the terms of this Scheduling
      Order and the Local Rules.

   5. Except as provided herein, or as ordered during a Pre-Motion Conference, all Motions
      must comply with the Local Rules of this Court (D. Md. 2018), particularly with Local
      Rule 105.2(c), covering cross-motions for summary judgment, Local Rule 105.3,
      providing for page limits, and Local Rule 105.4, providing for tables of contents in
      lengthy memoranda. Approval to exceed these page limits may be sought during the
      Pre-Motion Conference. All briefs must be in 12-point font, including footnotes, and
      the document margins must be 1” on all sides.

B. Dispositive Pretrial Motions

   1. In the event that a party files a motion for summary judgment, or parties file cross
      motions for summary judgment, pursuant to Federal Rule of Civil Procedure 56, all
      parties shall cooperate to compile a joint statement of facts that are not disputed for
      the purposes of summary judgment. Such facts should be submitted in a Joint
      Statement of Undisputed Facts and need not—and should not—be supported with
      additional documentary evidence. The parties may stipulate to facts, or to the
      authenticity, relevance, or admissibility of particular documents, for the purposes of
      summary judgment without prejudice to their ability to dispute such facts in good
      faith at later proceedings.

   2. With respect to all other evidence to be considered on summary judgment, the parties
      must submit a single, consolidated record (the “Joint Record”), as follows:

      a. The party filing first shall compile any exhibits needed to support its position. All
         pages must be in binders (with rings not to exceed three inches). The binders must
         include a table of contents for all exhibits, as well as an index for any deposition
         transcript.

      b. All exhibits shall be provided in a clear format that includes the complete
         document, rather than an excerpt. All deposition transcripts shall be provided in
         their entirety in “minuscript” (four transcript pages per printed page) format, and
         the cited portions shall be highlighted in a manner that allows both the
         highlighting and the highlighted text to be clear and easily seen as filed. Any
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      lengthy documents (more than 10 pages) of which only certain portions are
      relevant shall be highlighted similarly. If only a de minimis portion of a document
      or deposition is necessary, the parties may seek permission to file only the first
      page of the document and the relevant portion.

   c. All exhibits must be produced in a clear, legible format. Photographic or
      photocopied exhibits must be included in their original format (color or black-
      and-white) and in sufficient quality and resolution that their contents are
      reasonably clear. Any documents that cannot be printed on standard 8.5"x11"
      paper must, to the extent possible, be placed in a folder or securely affixed to a
      page of paper or cardstock that is 8.5"x11".

   d. The initial movant’s exhibits shall be tabbed with exhibit numbers and each page
      shall be consecutively numbered (such as with a Bates stamp or equivalent
      method) so that, for example, the first page of exhibit two will bear the number
      immediately following the number of the last page in exhibit one, and so forth for
      all the exhibits. Each page submitted will therefore have a unique Joint Record
      (“J.R.”) number.

   e. No exhibits need be filed with the court with the filing of the initial motion, but
      the exhibits shall be provided to the opposing party in a manner that allows them
      to cite to the exhibit and J.R. numbers used by the movant. All citations shall be
      to both the relevant exhibit and J.R. number. For citations to deposition transcripts
      with multiple pages of transcript on a single exhibit page, the original transcript
      page and relevant line numbers shall be provided in parentheses following the
      exhibit number and J.R. number.

   f. The respondent/cross-movant shall not provide duplicates of any of the initial
      movant’s exhibits but, to the extent necessary, shall cite to those same exhibits by
      exhibit and J.R. number. To the extent practicable, the respondent/cross- movant
      shall ensure that relevant portions of depositions or lengthy documents are
      highlighted even if those exhibits originally were provided by movant.

   g. If the respondent/cross-movant seeks to rely upon additional exhibits, or to submit
      any other materials, it shall do so in the same format as provided in paragraphs
      2.a–d above. Respondent/cross-movant shall begin numbering its exhibits and its
      pages where movant’s exhibits/pages left off. For example, if movant provides
      fifteen exhibits, numbered 1–15, and comprising pages 1– 200, respondent/cross-
      movant should begin with exhibit 16, and the first page should be numbered 201.

   h. The same procedure shall be followed for exhibits relevant to subsequently filed
      memoranda, such as a reply or, if permitted by the Court, surreply memorandum.

   i. If a party believes that it requires additional facts to oppose summary judgment
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                  pursuant to Federal Rule of Civil Procedure 56(d), it shall state those facts with
                  particularity in an affidavit and include that affidavit as an exhibit in the Joint
                  Record.

              j. Any objections to an exhibit shall be stated, in 250 words or less, on a cover page
                 to that exhibit. “Under Fed. R. Civ. P. 56, as amended in 2010, facts in support of
                 or opposition to a motion for summary judgment need not be in admissible form;
                 the requirement is that the party identify facts that could be put in admissible
                 form.” Mallik v. Sebelius, 964 F. Supp. 2d 531, 546 (D. Md. 2013). Accordingly,
                 the mere fact that a document is inadmissible in its current form is not a valid
                 objection. Similarly, objections to the contents or credibility should not be made
                 unless they have a non-frivolous basis. The party offering an exhibit may respond
                 to the objection in 250 words or less, on the same cover page. However, an
                 objection to an adversary’s exhibit is not a basis for excluding any document from
                 the Joint Record.

              k. Within seven (7) days of the filing of the final brief on the Motion, the parties
                 jointly shall file the Joint Record, both electronically and in hard copy in a single,
                 bound volume (or, if necessary, multiple, numbered volumes). Notwithstanding
                 Local Rule 105.5, all exhibits shall be tabbed and indexed, and shall be bound
                 along the left side either in a three-ring binder, spiral binding, or by any other
                 secure means of binding that allows the Joint Appendix to lay flat when opened.

              l. If there is an administrative record, the parties should file only the relevant
                 portions that they have cited in their briefs. This excerpt must be organized by
                 the parties before it is filed. All pages must be in binders (with rings not to exceed
                 three inches), with the pages numbered consecutively and all cited portions
                 highlighted. The binders must include a table of contents for all exhibits, as well
                 as an index for any deposition transcript. If the length is not prohibitive, the
                 excerpt of the record also should be filed electronically.

       The aforementioned procedures shall be followed by the parties for the submission of any
other substantive motion for which exhibits are relevant, including a motion to dismiss. After
motions and responses thereto have been filed, I will advise you if a hearing is to be scheduled.

V.     SEALED MATTERS

       Local Rule 105.11 governs the sealing of all documents filed in the record. This Rule
provides:

              Any motion seeking the sealing of pleadings, motions, exhibits or other
        documents to be filed in the Court record shall include (a) proposed reasons
        supported by specific factual representations to justify the sealing and (b) an
        explanation why alternatives to sealing would not provide sufficient protection. The

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        Court will not rule upon the motion until at least fourteen (14) days after it is entered
        on the public docket to permit the filing of objections by interested parties.
        Materials that are the subject of the motion shall remain temporarily sealed
        pending a ruling by the Court. If the motion is denied, the party making the filing
        will be given an opportunity to withdraw the materials. Upon termination of the
        action, sealed materials will be disposed of in accordance with L.R. 113.

       Failure to comply with this Rule will result in the denial of the motion to seal. In addition
to compliance with Local Rule 105.11, counsel moving to seal court filings should be guided by the
Fourth Circuit’s decision in Doe v. Pub. Citizen, 749 F.3d 246 (4th Cir. 2014). All motions to
seal should contain direct reference to Doe and should include specific factual representations
allowing the court to make the requisite findings.

VI.    STATUS AND PRETRIAL CONFERENCES

       I will set a scheduling conference (initial pretrial conference) after the Joint Post-Discovery
Status Report has been filed. At this conference:

       a.      I will set a deadline for submitting the pretrial order, any non-dispositive motions
               (e.g., motions in limine), proposed voir dire questions and proposed jury instructions;
               and

       b.      I will set a final pretrial conference date and a firm trial date (that will not be
               moved absent compelling circumstances).

VII.   ATTORNEYS’ FEES

        In any case where attorneys’ fees may be sought by the prevailing party, counsel must be
familiar with the provisions of Local Rule 109.2 and the Rules and Guidelines for Determining
Attorneys’ Fees, which are Appendix B to the Local Rules.




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VIII. COMPLIANCE WITH LOCAL RULES AND CM/ECF PROCEDURES

        The court will demand compliance with the Local Rules and CM/ECF procedures. If you
need to obtain a copy of the Local Rules or the CM/ECF procedures, they are available on our
website at www.mdd.uscourts.gov. Additionally, all motions and requests that the court issue an
order filed in cases before me must include a proposed order.

IX.    COMPLIANCE WITH PRIVACY PROTECTION RULE

        Counsel are reminded that the Federal Rules of Civil Procedure were amended, effective
December 1, 2017, with the addition of Rule 5.2. Filings with this Court that contain social security
numbers, tax payer identification numbers, or birth dates, the names of individuals known to be
minors, or financial account numbers shall be redacted. FED. R. CIV. P. 5.2. It is essential that the
parties comply with this Rule and with the revised version of the Judicial Conference Privacy Policy
adopted in March 2008. See generally, U.S. Courts, Privacy Policy for Electronic Case Files, U.S.
COURTS (Mar. 2008): http://www.uscourts.gov/rules-policies/judiciary-policies/privacy-policy-
electronic-case-files.



Dated: October 17, 2019                                         /s/
                                                     The Honorable Gina L. Simms
                                                     United States Magistrate Judge




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